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                     US Attorney Announces Guilty Plea for Schauf

 Bridgeport Mayor Pleads Guilty to Mail Fraud
          and Obstruction of Justice
FOR IMMEDIATE RELEASE
May 8, 2013




U.S. Attorney’s Office
    • Southern District of Illinois (618) 628-3700




The United States Attorney for the Southern District of Illinois, Stephen R. Wigginton, announced
today that on May 8, 2013, Max R. Schauf, 56, of Bridgeport, Illinois, pled guilty to three counts of
mail fraud and one count of obstruction of justice in United States District Court in Benton, Illinois.
Schauf, the Mayor of the City of Bridgeport, in Lawrence County, Illinois, was indicted along with
Paul R. Kramer, of Vincennes, Indiana, on November 6, 2012, by a federal grand jury sitting in Benton,
Illinois. The indictment charged Schauf with three counts of Mail Fraud and one count of Obstruction
Of Justice. Each of the charges carries a maximum penalty of up to 20 years in prison, a $250,000 fine,
and up to 3 years of supervised release.
“Theft, fraud, and obstruction by one public servant tarnish the image of all those dedicated public
servants who serve their communities each day with honesty and integrity,” said United States Attorney
Wigginton. “The plea in this case should be a reminder that my office, along with all of its federal and
state law enforcement partners, will vigorously investigate and prosecute anyone, such as Schauf, who
abuses the privilege and honor of their public service.”
At his plea, Schauf admitted that from July of 2008 until March of 2011, he had engaged in a scheme to
defraud the City of Bridgeport, as well as its residents, by submitting false and fraudulent invoices,
contracts and bills for services and equipment. Schauf also admitted that on November 10, 2011, he had
obstructed justice by telling another person to give false and misleading information to the Federal
Bureau of Investigation regarding the investigation into his (Schauf’s) fraudulent activities.
Sentencing for Schauf is scheduled for Thursday, August 8, 2013 at 11:00 a.m. at the United States
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District Court in Benton, Illinois.
Schauf’s co-defendant, Paul R. Kramer, pled guilty on March 20, 2013, to two counts of Making False
Statements to the FBI and is scheduled to be sentenced in United States District Court on June 27,
2013. He faces up to 5 years of in prison, a $250,000 fine, and up to 3 years of supervised release on
each count.
The case was investigated by the Federal Bureau of Investigation and prosecuted by Assistant United
States Attorneys Ranley R. Killian and William E. Coonan.
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